        Case 1:23-cv-05072-MLB     Document 46     Filed 01/09/25   Page 1 of 4




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

  DAVID C. WARTH,

       Plaintiff,                               CIVIL ACTION FILE NO.
                                                1:23-cv-05072-MLB
  v.

  THOMAS WILLIAMSON,

       Defendant.

            DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

        COMES NOW, Defendant Thomas Williamson (“Defendant Williamson”),

pursuant to Rules 7(b)(1) and 56 of the Federal Rules of Civil Procedure and Rule

56 of the Civil Local Rules of Practice for the United States District Court for the

Northern District of Georgia, and respectfully moves the Court to grant summary

judgment in its favor upon all claims asserted by Plaintiff David Warth.

        Plaintiff’s Complaint purports to assert claims for Federal False Arrest Claim

under 42 U.S.C. 1983 involving a September 6, 2016, a state law False Imprisonment

claim related to the September 6, 2016, claims for punitive damages related to the

September 2016 arrest; a Federal Malicious Prosecution Claim related to a March

24, 2017 arrest; a state law Malicious Prosecution Claim related to the March 2017;

and claims for Punitive Damages related to the March 2017 arrest. The
      Case 1:23-cv-05072-MLB        Document 46     Filed 01/09/25    Page 2 of 4




aforementioned claims are without merit as a matter of law based upon established

legal principles and the material facts as to which there is no genuine issue of dispute.

      Defendant submits simultaneously herewith his Statement of Undisputed

Material Facts together with the Brief in Support of Defendant’s Motion for

Summary Judgment. In support of this Motion, Defendant relies on the facts

admitted in the pleadings and discovery; the Statement of Undisputed Material

Facts; the Memorandum of Law in Support of Defendant’s Motion for Summary

Judgment; deposition testimony, including any attached exhibits to the depositions;

and the affidavits submitted contemporaneously.

      For all the reasons set forth in the Defendant’s Brief in Support of Defendant’s

Motion for Summary Judgment, Defendant Williamson requests that this Court grant

summary judgment in his favor upon all claims asserted against him in this action.

      Respectfully submitted this 9th day of January, 2025.

                                         s/ Stephen Pereira
                                         Stephen Pereira
                                         Ga. Bar No. 572051

PEREIRA, KIRBY,
KINSINGER & NGUYEN, LLP
P.O. Drawer 1250
Lawrenceville, GA 30046
(770) 963-1997 Telephone
spereira@pkknlaw.com
      Case 1:23-cv-05072-MLB    Document 46    Filed 01/09/25   Page 3 of 4




Counsel for the Defendant certifies by signature below that DEFENDANT’S
MOTION FOR SUMMARY JUDGMENT has been prepared with Times New
Roman 14-point font as required by Local Rule 5.1.

                                           /s/ Stephen D. Pereira
                                           Stephen Pereira
                                           Gar Bar No. 572051
                                           Attorney for Defendant
        Case 1:23-cv-05072-MLB     Document 46    Filed 01/09/25   Page 4 of 4




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

  DAVID C. WARTH,

       Plaintiff,                              CIVIL ACTION FILE NO.
                                               1:23-cv-05072-MLB
  v.

  THOMAS WILLIAMSON,

  Defendant.


                          CERTIFICATE OF SERVICE
        I hereby certify that I have this day electronically submitted the foregoing
DEFENDANT’S MOTION FOR SUMMARY JUDGMENT to the Clerk of
Court using the CM/ECF system which will automatically send electronic mail
notification of such filing to Plaintiff’s counsel of record, Kamu K. Mason, Esq. and
Reginald L. Winfrey, Esq., who are CM/ECF participants.
        This 9th day of January, 2025.
                                             PEREIRA, KIRBY,
                                             KINSINGER & NGUYEN, LLP
                                             /s/ Stephen D. Pereira
P.O. Drawer 1250                             Stephen D. Pereira
Lawrenceville, GA 30046                      State Bar No. 572051
(770) 963-1997 telephone                     W. Creighton Lancaster
(770)822-2913 facsimile                      State Bar No. 142351
spereira@pkknlaw.com                         Jaaonne J. Gadson-Jackson
wlancaster@pkknlaw.com                       State Bar No. 279689
jjackson@pkknlaw.com                         Counsel for Defendant Williams
